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11                                  UNITED STATES DISTRICT COURT
12                                          DISTRICT OF NEVADA
13    TITAN INTERNATIONAL                                Case No.: 2:24-cv-861
      TECHNOLOGIES, LTD.,
14
                               Plaintiff,                STIPULATION AND ORDER
15    v.                                                 EXTENDING TIME TO RESPOND TO
                                                         COMPLAINT
16    COBRA FIRING SYSTEMS, LLC and
      PHANTOM FIREWORKS OF PAHRUMP,                      [SECOND REQUEST]
17
                               Defendants.
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20           Plaintiff Titan International Technologies, LTD. (“Titan”), by and through its counsel of
21   record, and Defendants COBRA Firing Systems, LLC (“Cobra”) and Phantom Fireworks of
22   Pahrump (“Phantom”) (collectively “Defendants”), by and through their counsel of record,
23   pursuant to Local Rules IA 6-1, LR IA 6-2, and LR 7-1, hereby stipulate to extend the time to
24   respond to Titan’s Complaint (ECF No. 1) by thirty (30) days, through and including August 14,
25   2024.
26   …
27   …
28   …

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1            The parties have been having substantive discussions regarding resolution and would like

2    to continue engaging in such discussions before moving forward with a response to the Complaint

3    and the deadlines that follow. This request is not for purposes of delay.

4     DATED this 27th day of June, 2024.                   DATED this 27th day of June, 2024.

5
6     By:     /s/ Dustun H. Holmes________                 By:      /s/ Ajit Vaidya, Esq._______
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                                                    IT IS SO ORDERED:
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16                                                                                                 ____
                                                    UNITED STATES MAGISTRATE JUDGE
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18                                                  DATED: ___________________
                                                            6/28/2024
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